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UNITED STATES DISTRICT COURT   " _:`r;f/`»
WESTERN DISTRICT 0F TENNESSEE 43 ha ‘

EASTERN DIVISION '42

 

RUMONT KIRKPATRICK, JUDGMENT IN A CIVIL CK§E

Plaintii`f,
V.

CORRECTIONS CORPORATION CASE NO: 1:03-1236-B
OF AMERICA, et al.,

Defen dants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

 

THOMAS M. GOU.D
Clerk of Court

  

(By Deputy Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:03-CV-01236 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

